
PER CURIAM.
Appellant seeks review of the order denying his Motion to Vacate Judgment and Sentence filed pursuant to Fla.R.Crim.P. 3.850. We find no error and therefore affirm.
The appellant was convicted of robbery and sentenced to forty (40) years imprisonment on December 3, 1969. The appellant has previously taken a full appeal from this judgment and sentence. Pitts v. State, 244 So.2d 515 (Fla. 1st DCA 1970). The issue raised in the appellant’s Motion to Vacate was previously raised and considered on direct appeal. Therefore, such issue may not be considered as grounds for post-conviction relief. Gore v. State, 260 So.2d 218 (Fla. 1st DCA 1972). The order appealed from is AFFIRMED.
McCORD, C. J., and BOYER and MELVIN, JJ., concur.
